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AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.
                                                                      Case Number: 7:18-po-19587
Eduardo ROMAN-Martinez
IAE
Mexico 1998


         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about December 14, 2018 in                          Hidalgo                County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)               1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Eduardo ROMAN-Martinez was encountered by Border Patrol Agents near Hidalgo, Texas on
December 15, 2018. When questioned as to his citizenship, defendant stated that he was a citizen and
national of Mexico, who had entered the United States illegally on December 14, 2018 by rafting
across the Rio Grande River near the Hidalgo, Texas Port of Entry.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                       /S/ Meador, Kellen Border Patrol Agent
                                                                       Signature of Complainant
                                                                       Meador, Kellen Border Patrol Agent
                                                                       Printed Name of Complainant
Sworn to before me and signed in my presence,
December 16, 2018                                                at    McAllen, Texas
Date                                                                   City/State

Juan F Alanis                        Magistrate Judge
       Name of Judge                    Title of Judge                                  Signature of Judge
